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 AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New   York
                                                                          __________

JOSE VISITACION SORTO, FREDY MAURICIO CHAVARRIA,                  )
JUAN CARLOS GONZALEZ NOLASCO, MARVIN EZEQUIEL                     )
ALVAREZ LOPEZ, MERCEDES DE LA PAZ NOLAZCO
                                                                  )
GONZALES, and SILVIO OMAR PEREZ MARQUEZ,
individually and on behalf of all others similarly situated,      )
                            Plaintiff(s)                          )
                                                                  )
                                 v.                                       Civil Action No. 1:24-cv-04863-SJB
                                                                  )
 SEVILLE WASH INC. d/b/a CLASSIC SEVILLE CAR                      )
   WASH and URI SHEMELZMAN and AZUCENA
                                                                  )
           TOLEDANO, as individuals
                                                                  )
                                                                  )
                            Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) SEVILLE WASH INC. (DOS ID: 5224640)
                                        1859 Utica Avenue, Brooklyn, NY 11234
                                        URI SHEMELZMAN
                                        1859 Utica Avenue, Brooklyn, NY 11234
                                        AZUCENA TOLEDANO
                                        1859 Utica Avenue, Brooklyn, NY 11234



           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: Helen F. Dalton & Associates, P.C.
                                        Roman Avshalumov, Esq.

                                        80-02 Kew Gardens Road, Suite 601

                                        Kew Gardens, NY 11415

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                            Brenna Mahoney
                                                                             CLERK OF COURT

                                                                             s/Kimberly Davis
 Date: 7/15/2024
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:24-cv-04863-SJB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
